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 1                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF MISSISSIPPI
 2                                    OXFORD DIVISION

 3
          DR. AMY R. WOODS                                                 PLAINTIFF
 4
          VS.                                   CAUSE NO. 3:19-CV-00234-NBB-RP
 5
          MHM HEALTH PROFESSIONAL, LLC, D/B/A
 6        CENTURION PROFESSIONALS;
          MANAGEMENT & TRAINING CORPORATION;
 7        JESSE WILLIAMS, INDIVIDUALLY; AND
          JOHN DOES 1-9                                                  DEFENDANTS
 8

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11
                     DEPOSITION OF REPRESENTATIVE BILL KINKADE
12

13        ************************************************************

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16

17                      TAKEN AT THE INSTANCE OF THE PLAINTIFF
                               VIA ZOOM VIDEOCONFERENCE
18                   ON OCTOBER 7, 2020, BEGINNING AT 2:44 P.M.

19

20

21

22

23                            GENA MATTISON GLENN, CSR 1568
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                                  EXHIBIT "Q"
      Case: 3:19-cv-00234-NBB-RP Doc #: 143-17 Filed: 11/23/20 2 of 14 PageID #: 1532

REPRESENTATIVE BILL KINKADE                                                                                    10/07/2020
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                              OXFORD DIVISION
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                                                                            REPRESENTATIVE BILL KINKADE
      VS.                           CAUSE NO. 3:19-CV-00234-NBB-RP      4   Examination by Mr. Jim D. Waide           6
                                                                            Examination by Mr. Timothy M. Peeples          15
      MHM HEALTH PROFESSIONAL, LLC, D/B/A                               5   Examination by Mr. David Long-Daniels          37
      CENTURION PROFESSIONALS;
      MANAGEMENT & TRAINING CORPORATION;
                                                                            Examination by Mr. Jim D. Waide           47
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                                                                        6
      JOHN DOES 1-9                                       DEFENDANTS    7   EXHIBIT
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             DEPOSITION OF REPRESENTATIVE BILL KINKADE
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             ON OCTOBER 7, 2020, BEGINNING AT 2:44 P.M.
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                                                                       18
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  1    APPEARANCES:                                                     1           REPRESENTATIVE BILL KINKADE,
  2    WAIDE & ASSOCIATES
          P.O. Box 1357                                                 2      first being duly sworn, was examined and
  3       Tupelo, MS 38802-1357                                         3           testified as follows, to-wit:
          For the Plaintiff
  4       BY: JIM D. WAIDE (Via Zoom Videoconference)                   4
             RACHEL P. WAIDE (Via Zoom Videoconference)                 5                 EXAMINATION
  5
       GREENBERG TRAURIG                                                6    BY MR. WAIDE:
  6       3333 Piedmont Road NE, Suite 2500                             7       Q. Sir, you are Bill Kinkade?
          Atlanta, GA 30305-1780
  7       For the Defendant Centurion                                   8       A. Yes, sir.
          BY: DAVID LONG-DANIELS (Via Zoom Videoconference)             9       Q. Where do you live, Representative
  8
       GREENBERG TRAURIG                                               10    Kinkade?
          300 West 6th Street, Suite 2050
  9
          Austin, TX 78701-4236
                                                                       11       A. I am -- my home is
 10       For the Defendant Centurion                                  12    in Byhalia.
          BY: ELIZABETH ROSS HADLEY (Via Zoom Videoconference)
 11
                                                                       13       Q. In Marshall County?
       DANIEL COKER HORTON & BELL                                      14       A. In Marshall County, yes, sir,
         P.O. Box 1396
 12
         Oxford, MS 38655-1396
                                                                       15    Mississippi.
 13      For the Defendant Management & Training Corporation           16       Q. And I believe you're a member of the
         BY: TIMOTHY M. PEEPLES (Via Zoom Videoconference)
 14
                                                                       17    Mississippi legislature?
 15                                                                    18       A. I am, sir.
 16
 17
                                                                       19       Q. How long --
 18                                                                    20       A. I'm in my third term with the
 19
 20
                                                                       21    legislature.
 21                                                                    22       Q. What counties does your district
 22
 23                                                                    23    encompass?
 24                                                                    24       A. I represent Marshall and DeSoto
 25    Reported by: GENA MATTISON GLENN, CSR 1568
                GLENN-HENRY REPORTING
                                                                       25    Counties. The east section of DeSoto, and 70
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  1   percent of my district is in Marshall County.       1   doctor. And I said, Just look into it, Jerry.
  2      Q. Do you have -- do you work outside of         2   I want to make sure that we're safe. And he
  3   your legislative duties? Do you have other          3   said, Well, I'm on it right now, and he'd report
  4   work?                                               4   back to me any -- any investigations that they
  5      A. I do. I'm in my office now in                 5   may have had. Which I never heard back from him
  6   Memphis. I have a sports marketing company in       6   on that particular case.
  7   Memphis and have for the past 40 years.             7       Q. All right. Was this a male or a
  8      Q. At one time, you were chairman of the         8   female who had expressed this concern to you?
  9   Corrections Committee of the House of               9   You said it was a doctor.
 10   Representatives; am I correct?                     10       A. It was a male doctor. It was --
 11      A. That's correct. That's correct.              11   seemed to be a senior male doctor, or it could
 12      Q. Is the Mississippi legislature the           12   have been a dentist. I'm not -- again, I wish I
 13   entity that funds the Department of Corrections?   13   would have been paying attention to that detail.
 14      A. Well, the legislature funds the DOC,         14       Q. Okay.
 15   yes, sir.                                          15       A. But it was an older gentleman that
 16      Q. Tell me, generally, how many member --       16   called me. And, actually, that was the second
 17   well, what years were you the -- on the            17   time he had indicated to me he was concerned
 18   Department of Corrections committee in the         18   about the safety and the short-staffing. And so
 19   legislature? What years was that?                  19   the first time, I may have just not reacted to
 20      A. I was chairman -- I was on -- I've           20   it. But the second time, I thought it warranted
 21   been on the committee since 2012 through 2016      21   somebody from DOC looking into it.
 22   and became chairman '16 to 2020. And I'm           22       Q. Were you aware in general, other than
 23   currently the Chairman of Wildlife Fisheries and   23   through this male doctor or dentist, that there
 24   Parks.                                             24   was a problem with staff shortages at the
 25      Q. So you left the corrections committee        25   Marshall County correctional facility?

                                             Page 6                                                   Page 8
  1   in 2020?                                            1      A. Not any more so than any other
  2      A. Yes, sir. In January I was resigned           2   facility. Certainly we have the same -- as
  3   to another chairmanship.                            3   chairman, I was aware of staff shortages that
  4      Q. In 2000 -- specifically in the spring         4   were going on in various facilities.
  5   of 2019, do you recall anybody complaining to       5          Now, those are DOC facilities. This
  6   you about staff shortages at the correctional       6   happened to be a private prison, a private
  7   facility in Marshall County?                        7   contract, and that's why it triggered some, you
  8      A. In fact, I do. I believe it was a             8   know, concern that I needed to investigate that
  9   Friday on my way home from Jackson, I had a         9   since we have a contracted minimum.
 10   physician -- or it might have been a dentist;      10      Q. And I don't want you to guess because
 11   I'm not quite clear on the detail -- but had       11   I know you're not a committee party. Do you
 12   called me and expressed concern that there         12   remember the name of the corporation that had
 13   weren't enough guards to staff properly, and       13   the contract?
 14   that -- this is the second time he had let me      14      A. Management Training Corporation, I
 15   know that.                                         15   believe.
 16          But he was very concerned at this           16      Q. And do you remember the name of the
 17   point saying that, you know, there wasn't enough   17   company that employed the doctors and nurses up
 18   cars in the parking lot. He was aware of -- he     18   there to provide medical care? Do you remember
 19   knew the guards. He knew, you know, what they      19   the name of that company?
 20   should be -- who should be there, and they were    20      A. I believe it was Centurion.
 21   not there.                                         21      Q. So did you say you never did hear back
 22          I subsequently listened to him. I           22   from Mr. Williams, from Jerry Williams, after
 23   called Jerry Williams with DOC, which is my        23   you brought that to his attention?
 24   point of contact for facilities, and expressed a   24      A. You know, I spoke to Jerry sometime
 25   concern had been -- had been given to me by this   25   afterward, and it could have been three to four
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REPRESENTATIVE BILL KINKADE                                                                   10/07/2020
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  1   weeks later, and asked him if he looked into it.    1   the facility and happened to see her in there.
  2   And he said, in fact, he had, and they were         2   And we spoke and -- because I was not even aware
  3   trying to audit some staffing situation.            3   she worked there.
  4          It was a short time of that when they        4          But that's the only time I had ever
  5   had a prison issue in Marshall County that          5   spoken to her in or about the facility.
  6   proved to be, in large part, due to short           6      Q. Did you ever talk to her about the
  7   staffed. They had some violence in the              7   staff shortages at the -- or alleged staff
  8   facility. And so that initiated another             8   shortages at the facility to Dr. Woods?
  9   conversation with Jerry as, Hey, this has been a    9      A. No, sir, not until one point she
 10   longstanding issue, was this part of that cause.   10   contacted -- well, it was actually her family
 11   That was -- that was the extent of the             11   contacted me after she was terminated, and they
 12   conversation with Jerry Williams.                  12   proceeded to chastise me -- or the oper -- the
 13      Q. All right. And you mentioned a male          13   overall situation. And I wasn't aware that she
 14   doctor or dentist. Other than that, do you         14   had been let go. But I had talked to her after
 15   recall anybody else that worked at the Marshall    15   she was let go, and I was, you know, frankly
 16   County correctional facility contacted you to      16   shocked.
 17   complain about the staff shortage or to bring to   17      Q. Why were you shocked?
 18   your attention the staff shortage?                 18      A. I never spoke --
 19      A. No, I didn't have anybody, really,           19      Q. Why were you shocked she was let go?
 20   ever talk to me about staff shortages or prison    20      A. Because as I was -- as it was
 21   condition. I did have a pastor's wife -- and I     21   indicated to me, that there was come conflict
 22   didn't -- I never talked to her, but I spoke to    22   that she supposedly had talked to me about the
 23   the pastor -- that had expressed some concern      23   condition of the jail, which never had I even
 24   that his wife had indicated that, you know, it     24   had a conversation with her. And never about
 25   wasn't -- that there was new management, there     25   the facility until after she was terminated;

                                            Page 10                                                 Page 12
  1   was a new warden, and things weren't smooth.        1   and, frankly, it shocked me.
  2   The transition was difficult. And I believe         2      Q. All right. What was your -- in
  3   that that pastor's name was Stephen Bittick.        3   general, what was your opinion of her character
  4       Q. Bittick?                                     4   so far as her honesty is concerned?
  5      A. Uh-huh. And I believe his wife worked         5      A. She's very stand-up. I mean, she's
  6   at the facility, but I never spoke directly with    6   very forthright. She had no blame for me. She
  7   any of the staff there.                             7   was deeply saddened. She asked me if she had
  8       Q. Do you know Dr. Amy Woods?                   8   done anything inappropriate where I was
  9       A. I do.                                        9   concerned, and to my knowledge, no. So, you
 10       Q. How do you know her?                        10   know, that was my shock, is that she had been
 11      A. Well, I know her through the Chamber         11   terminated based on that premise and which was
 12   of Commerce, which, you know, I served Chamber     12   not so.
 13   of Commerce as president for the last 20 years.    13      Q. All right. Did you ever -- did you
 14   I've been involved in the Chamber. And, of         14   ever call the warden, Warden Williams, at the --
 15   course, Amy is -- was a devout church member.      15   at Management Training Corporation to ask him
 16   She's a neighbor to the Chamber and a very         16   about -- about her being terminated?
 17   active part of the community.                      17      A. Never.
 18         I know her husband rather well. I            18      Q. You never did talk to Warden Williams?
 19   know Dr. Woods because -- just because she was a   19      A. Never.
 20   doctor. She's well respected. I know a lot of      20      Q. Did he ever call you?
 21   the Woods family.                                  21      A. I've never spoken to Warden Williams.
 22         And I happened to visit on an open           22      Q. So do you know Warden Williams?
 23   house at the Marshall County facility. And this    23      A. No, sir, I don't. As Chairman of
 24   was probably in '17, I guess. 2017. Could have     24   Corrections, my job is to work with the
 25   been '18, but an open house. And I was touring     25   commissioner, and it stops and starts in Central
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REPRESENTATIVE BILL KINKADE                                                                   10/07/2020
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  1   Office, you know. And I don't talk to               1   And Jerry Williams was my point of contact
  2   employees, staff, wardens, guards, security         2   because he was the director of facilities. And
  3   personnel. Just, that's not -- that's not           3   that's his primary responsibility, so, you know,
  4   correct protocol. I work with commissioner and      4   it was between him and I. I never reported any
  5   the commissioner's staff, which is constituent      5   past him.
  6   services. Those are the three people that I         6       Q. Give me just one second, please, sir.
  7   worked with.                                        7   That's all I have.
  8      Q. So at no time did you talk with               8          MR. LONG-DANIELS: Tim, have you got
  9   Williams about whether or not Dr. Woods should      9       anything?
 10   be reinstated or whether she was -- she            10          MR. PEEPLES: Go ahead, if you've got
 11   wrongfully left her position -- wrongfully lost    11       anything. I'll look through my notes while
 12   her position?                                      12       you're doing that.
 13      A. No, sir.                                     13          MR. LONG-DANIELS: I really don't have
 14      Q. You never had a conversation like            14       anything, Tim.
 15   that?                                              15          MR. PEEPLES: All right. Then I'll
 16      A. No, sir.                                     16       proceed.
 17      Q. And what about with anybody from             17          THE WITNESS: And who am I speaking
 18   Centurion? Did you talk to anybody from            18       with?
 19   Centurion?                                         19
 20      A. No, sir.                                     20              EXAMINATION
 21         (Video and audio interruption.)              21   BY MR. PEEPLES:
 22         There we go. I'm sorry.                      22      Q. Hey, Mr. Kinkade. I'm Tim Peeples. I
 23         No. Once again, my job was to work           23   don't know if you can see me well enough.
 24   specifically with the Central Office of            24     A. Hey, Tim. How are you?
 25   Department of Corrections and not any contracted   25      Q. I'm doing well. I'm counsel for

                                            Page 14                                                 Page 16
  1   personnel.                                          1   Management & Training Corporation.
  2         I did speak to Centurion in the               2      A. The Oxford office.
  3   capitol when they came in. It was the               3      Q. Yes, sir. I'm down here in Oxford,
  4   management team out of their office in Utah, I      4   not too far away from you.
  5   think. Just -- they were lobbying, I guess, for     5      A. At the belly of the beast.
  6   the contract. Never anything about specifics of     6      Q. Yes, that's right.
  7   any personnel or facility.                          7          Let's back up. You mentioned that you
  8       Q. All right. Did you -- well, I'm not          8   had spoken to someone in Dr. Woods' family about
  9   going to put words in your mouth. But when this     9   her being terminated, right?
 10   doctor or dentist, whatever he -- whichever one    10      A. I believe it was her -- it was her
 11   he was, talked to you about the staff shortages,   11   father-in-law that actually first told me about
 12   did you consider that he was doing anything        12   the situation.
 13   wrong? Did you believe he was doing anything       13      Q. Okay.
 14   wrong by talking to you?                           14      A. About, in his estimation, and
 15       A. No, not at all. I think that -- no,         15   paraphrasing it -- again, this was sometime
 16   it never occurred to me that he was breaking any   16   ago -- paraphrasing it, he just said he was very
 17   kind of rule. He was genuinely concerned with      17   disappointed that they that had decided to let
 18   the safety of the facility. And -- and, again,     18   Amy go at Washington County Correctional. And
 19   on his second inquiry, I sized up that he was      19   when I inquired why, he said, Well, apparently,
 20   probably correct and then reported that to Jerry   20   she had supposedly talking -- talked to me.
 21   Williams.                                          21          And I was very -- I was -- you know --
 22         And I will say that Jerry Williams is        22          (Video and audio interruption.)
 23   the only one that I really spoke to about this.    23      A. I'm sorry. But I believe it was her
 24   I never spoke to the commissioner about it,        24   father-in-law, Pat Woods, was the only one I
 25   Pelicia Hall. I never spoke to anybody else.       25   spoke to.
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REPRESENTATIVE BILL KINKADE                                                                   10/07/2020
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  1   BY MR. PEEPLES:                                     1   the one that called and asked me if I was going
  2       Q. Okay. And I guess he called you on           2   to make the luncheon. And, you know, it was
  3   the phone?                                          3   just if I could, I could. If not, I couldn't.
  4       A. No. I think I saw him in town. And,          4   But I believe it was Stephen that said, Hey, I
  5   again, I know the Woods family rather well.         5   hear they're having a luncheon; are you going to
  6   They have the feed & seed store. Obviously, I'm     6   go.
  7   one of the ole boys that shop at the feed & seed    7       Q. After you talked to, I think it was,
  8   store, so I know Amy's husband, Patrick, pretty     8   Pat Woods -- is that who you said --
  9   well.                                               9       A. Right.
 10          And, you know, Patrick, he didn't           10       Q. -- Amy's father-in-law?
 11   really make much of it, but, you know, just said   11       A. Father-in-law.
 12   it was a shame.                                    12       Q. Yes, sir. Did you -- what did you do
 13       Q. Okay. What church do you go to?             13   after you spoke to him?
 14       A. Fellowship Baptist.                         14       A. Nothing to do.
 15       Q. Okay. And you don't -- you don't            15       Q. Did you call Jerry Williams?
 16   know --                                            16       A. I expressed -- I did -- I think I did
 17       A. What's that got to do with anything?        17   call Jerry and ask him, you know, why that
 18       Q. Well --                                     18   happened. But, I mean, I don't have much
 19       A. I think the Woods family attends the        19   recollection about the conversation. Again,
 20   Methodist church, if that's your direction.        20   when an employee is terminated, I didn't think
 21       Q. I'm asking you if you know -- I mean,       21   it was going to go anywhere else, so I didn't
 22   it could be -- well, we'll move on.                22   pursue it. But I believe I did speak to Jerry
 23          Did you know Pastor Bittick before --       23   and -- or, I mean, Commissioner Williams and ask
 24   before all this, where he mentioned to you that    24   him if he knew about it.
 25   there were issues at the facility?                 25       Q. What did --

                                            Page 18                                                 Page 20
  1      A. I know Pastor Bittick because we're           1      A. I don't really remember the basis of
  2   brothers in the Lion's Club.                        2   the conversation. I know there was some
  3       Q. Okay.                                        3   discussion about it, but it wasn't anything, in
  4      A. I know he was very active in the              4   my mind, that was vital.
  5   community and the schools. I know he was a --       5      Q. So even though -- but you didn't do
  6   mentored some young people in town. And as the      6   anything beyond that even though you said you
  7   chamber director, we crossed paths several          7   were shocked, right?
  8   times. So I knew -- I knew Reverend Bittick         8      A. I was just shocked by it.
  9   reasonably well.                                    9      Q. Was Jerry Williams shocked in your
 10          I only met his wife once or twice and       10   opinion?
 11   his daughter maybe once or twice at a dinner,      11      A. Again, it was a telephone call, so, I
 12   but I really never discussed anything with them.   12   mean, I really can't read into how Jerry took
 13       Q. Okay. And you didn't discuss anything       13   that. I mean, I just asked if he knew about it,
 14   with Ms. Bittick about her work at the jail        14   and he said he knew that he was aware that there
 15   facility?                                          15   were some changes in staff. I don't think that
 16       A. No. You know, they invited me to come       16   he was shocked, no.
 17   down, I think, and I believe it was Stephen that   17      Q. Okay. Did -- did you ask Jerry or did
 18   invited me, actually. And I failed -- I failed     18   Jerry express to you his -- his opinion about
 19   to go, but I was invited to, you know, a lunch     19   what had occurred or what was alleged to have
 20   at the facility when the new warden had taken      20   occurred?
 21   over. But, again, I never attended that            21      A. No.
 22   luncheon.                                          22      Q. Did he ever tell you he agreed with
 23       Q. Again, who gave you that invitation?        23   the decision to revoke Dr. Woods' clearance?
 24      A. Well, it was put out by the DOC for my       24      A. Again, I'll tell you, Tim, you know,
 25   committee members. And then Reverend Bittick is    25   Dr. Woods didn't work for DOC, and DOC is the
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REPRESENTATIVE BILL KINKADE                                                                   10/07/2020
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  1   only concern that I had, not -- not a               1   Thank you, we appreciate you. And I did that
  2   contractor. So I didn't see it my place to          2   with the warden prior to Mr. Williams. I just
  3   question what a contractor did.                     3   never had the opportunity to get with the new
  4       Q. Okay.                                        4   warden Williams.
  5       A. You know, I was just simply inquiring        5      Q. Have you ever gone to any of the --
  6   with my -- my point of contact at Central Office    6   well, there's only -- there's only a couple, but
  7   to something I had heard. And, again, I didn't      7   have you gone to any of the facilities run by
  8   pay much attention to it obviously, but I don't     8   Management & Training Corporation to sit down
  9   think there was a lot of meat in that               9   with the wardens on-site to discuss operations
 10   conversation.                                      10   or staffing or anything like that?
 11       Q. Did -- did you -- did Jerry Williams        11      A. Never. I met with -- I met with a
 12   ever express to you that Warden Williams was       12   group out of Tallahatchie County with the
 13   willing to meet with you and Dr. Woods about the   13   commissioner one time. We were looking at
 14   decision to revoke her clearance?                  14   trying to contract some overflow from Parchman,
 15       A. No. No.                                     15   but I was with the commissioner just as support.
 16       Q. If you had of been made aware of --         16   I wasn't -- you know, I never met with any
 17   let's just say, Warden Williams would have met     17   warden.
 18   with you and Dr. Woods, is that something you      18          Now, I have met with DOC wardens in
 19   would have done?                                   19   the past, those that directly work for our
 20       A. Absolutely not.                             20   department, but never -- never an outside
 21       Q. Why not?                                    21   entity.
 22       A. Again, I start -- I start and stop          22      Q. Okay.
 23   with the Department of Corrections. I don't --     23      A. Again, I think that's a violation,
 24   I don't get into the contractor services or the    24   really. I don't think it's protocol to do that.
 25   contractor rules. My service is simply for the     25      Q. Explain that to me. What do you mean

                                            Page 22                                                 Page 24
  1   State of Mississippi, to be chairman of the         1   by that?
  2   Department of Corrections in the House. So I        2      A. Well, I just think anytime you go out
  3   wouldn't take a meeting outside of that.            3   of your area of jurisdiction, you're breaking a
  4       Q. Okay. When you called Jerry Williams,        4   certain protocol. And, you know, I work with
  5   did you consider yourself to be simply asking a     5   DOC, and that is where it start and stops. I
  6   question, or were you advocating in any way for     6   don't -- I don't work with any other entities.
  7   Dr. Woods?                                          7   Not the health-care contractors, not the
  8       A. Just inquiring.                              8   maintenance contractors, not the -- you know, no
  9       Q. Okay. And you -- and you -- I guess          9   other contractor I would have any business to
 10   to be clear, you've never spoken to the warden     10   meet with. It would be to work through Central
 11   about anything? You've never spoken to him at      11   Office, which I made it a policy to do.
 12   all?                                               12      Q. That's really, sort of, your chain of
 13       A. I don't think I've spoken to him at         13   command in a way?
 14   all.                                               14      A. That's the way it should be.
 15       Q. Okay. Have you spoken to wardens in         15      Q. Yeah. The dentist that you mentioned,
 16   any of the other facilities that are run by        16   or possibly doctor, the older gentleman, was
 17   Management & Training Corporation?                 17   that -- to your understanding, was that just a
 18       A. Certainly.                                  18   private physician, or was that person employed
 19       Q. And what about?                             19   by Centurion or MTC?
 20       A. What about?                                 20      A. Well, I didn't know him at all. He
 21       Q. Yes.                                        21   called me on my cell phone en route when I was
 22       A. Oh, you know, at our DOC luncheons,         22   coming home one day, and this is the second time
 23   employee luncheons, wardens would come and I'd     23   he had done it. Prior to that, he left me a
 24   speak to them, you know, in a luncheon format.     24   voicemail. But -- on the first occasion. On
 25   I mean, not about anything specific other than,    25   the second occasion, he did get me on the phone
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REPRESENTATIVE BILL KINKADE                                                                   10/07/2020
                                                                              7 (Pages 25 to 28)
                                            Page 25                                                 Page 27
  1   and told me that he was a physician or a            1   really dissect how a private corporation runs
  2   dentist, or whatever he was, and that I should      2   their prison.
  3   be very concerned about the staffing situation.     3        Q. Well --
  4   He was -- he was concerned for some of the staff    4       A. Especially when I didn't visit many.
  5   and some of the inmates. And, you know, he just     5       Q. Okay. But would you agree with the
  6   wanted to make sure that it was reported to the     6   general principal that -- let's take Parchman,
  7   proper people.                                      7   right? It's an MDOC --
  8          So, you know, I didn't really say much       8       A. Feel free to. Feel free to.
  9   to him other than, Thank you for letting me         9       Q. Yeah. You can't -- you can't give
 10   know, and I called Jerry Williams immediately on   10   that away.
 11   that same trip home and communicated the           11       A. Right.
 12   information. But that's really the only            12       Q. But you would agree with me that,
 13   conversation I ever had about this, is from him,   13   first of all, inmates are entitled to health
 14   with Jerry, on one occasion.                       14   care, right?
 15       Q. And then you had -- and then Jerry, I       15       A. Absolutely.
 16   think you said he followed up with you a couple    16       Q. But that has to be done in a safe
 17   of weeks later?                                    17   manner, correct?
 18       A. I think I asked Jerry a couple of           18       A. Correct.
 19   weeks later if he ever heard anything -- did he    19       Q. That's for the safety of the guards;
 20   hear that an employee had been terminated. And,    20   it's for the safety of other inmates; it's for
 21   you know, again, I don't think there was a whole   21   the safety of the health-care providers, and
 22   lot of response there. I didn't hear any           22   even the inmate himself?
 23   concern.                                           23       A. The only way to document it is through
 24       Q. In your role on this corrections            24   systematic application, exactly.
 25   committee, you know, are you familiar with how     25       Q. And that also applies, maybe even more

                                            Page 26                                                 Page 28
  1   jail facilities are run?                            1   so, when an inmate is taken outside the facility
  2       A. Rephrase.                                    2   for health care. Would you agree with that?
  3       Q. Do you -- I mean, you're -- are you          3       A. That there's a greater deal of
  4   familiar with, sort of, the operations of           4   concern?
  5   correctional facilities through your involvement    5       Q. Well, they're at least equal if not
  6   on this committee?                                  6   greater concern.
  7       A. Most definitely.                             7       A. There is a heightened awareness of
  8       Q. Okay. I would assume you were. I             8   security when an inmate leaves the facility to
  9   mean, sometimes lawyers ask questions of            9   go to any health care, certainly.
 10   witnesses --                                       10       Q. Okay. They don't allow inmates at
 11       A. Right. I understand. Yes, sir, very         11   Parchman to just go down the street in Ruleville
 12   much. When I'm chairman of corrections, I          12   to the doctor, do they, on their own?
 13   thrust myself into that position to learn every    13       A. Not on their own.
 14   detail about how to -- how to make sure that the   14       Q. Right. Okay. Did you -- did you do
 15   funding was there and that I did everything that   15   anything before today to get ready for your
 16   I needed to do to support that.                    16   deposition? Look at any documents?
 17       Q. Okay.                                       17       A. I looked at this calendar about 20
 18       A. So, yes, I did know. I did understand       18   minutes after 2:00 and thought, uh-oh, I don't
 19   operations.                                        19   see the Zoom. So I'm not -- I don't know.
 20       Q. And would that have included                20   Generally -- generally, no, sir, I haven't read
 21   operations -- or, I guess, it would also include   21   anything. I don't -- I almost forgot, frankly.
 22   -- part of that is providing care within the       22       Q. Okay. Did you -- did you meet either
 23   facility to inmates, right?                        23   by phone or in person with Mr. Waide or Rachel
 24       A. Only in DOC facilities. Once the            24   Waide before today?
 25   they're contracted, no, I didn't -- I didn't       25       A. I had a phone call from Mr. Waide
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                                                                              8 (Pages 29 to 32)
                                            Page 29                                                 Page 31
  1   about three weeks ago to set up a deposition        1   he was involved with prison ministry, and that
  2   date. That's the only conversation we really        2   he wanted to try to get some other people
  3   had.                                                3   qualified to have other ministry to support it.
  4      Q. Did he ask you -- did he or anyone            4   I know we had a conversation regarding that,
  5   from his staff or his office ask you the same       5   Kairos. Are you familiar with Kairos?
  6   kind of questions he asked you earlier on that      6      Q. No.
  7   phone call?                                         7      A. Well, Kairos is a ministry, prison
  8      A. No, sir.                                      8   ministry.
  9      Q. Have you talked to anybody else about         9      Q. Okay.
 10   this lawsuit?                                      10      A. And all of our faith-based
 11      A. I may have told my daughter three            11   institutions, we try to participate in the
 12   weeks ago when I was you called -- contacted to    12   Kairos programs. So I think he asked me about
 13   give a deposition. I think my daughter came        13   what the protocol was to get somebody qualified.
 14   over for a glass of wine, and I may have           14   That was a conversation.
 15   mentioned it. I don't know how harmful that is,    15          We had a conversation about how great
 16   but she's -- she's fairly trustworthy.             16   he thought that the Ole Miss instructors were
 17      Q. All right.                                   17   providing service down there. We have some
 18      A. I'd vouch for her, anyway.                   18   professors in the facility teaching. I mean,
 19      Q. There you go. And there's nobody else        19   there's a myriad of things we probably talked
 20   that has any affiliation with that facility that   20   about that really were of no -- nothing, you
 21   you've spoken to about specifically staff          21   know, degrading or nothing that negative.
 22   shortages that you haven't covered?                22          I mean, obviously, prison is a dark
 23      A. No. No. Again, I stated as well as I         23   place, Tim. You understand that, right?
 24   could is that I don't go outside of protocol to    24      Q. Yeah.
 25   discuss operational things with anybody other      25      A. There's not a lot of great things to

                                            Page 30                                                 Page 32
  1   than the agency responsible. It wouldn't be         1   say about it.
  2   appropriate.                                        2       Q. Okay.
  3      Q. Okay. Do you have an understanding of         3       A. And, really, I don't recall any
  4   what Ms. Bittick's job is at the facility?          4   (inaudible) at all that he said. I think he
  5       A. I have no idea.                              5   said -- he asked me about if I was going to go
  6      Q. Okay. When you talked to Pastor               6   to the luncheon one time, but, again, these are
  7   Bittick, you didn't get -- did you get the          7   just passing conversations at the Piggly Wiggly.
  8   impression that she worked in medical or worked     8   I mean, they're not meetings.
  9   in corrections or one way or the other?             9       Q. Yeah. And that's more what I'm
 10       A. You know, that would have been a great      10   getting at. Did he ever say, My wife has said
 11   question for me to ask, and I guess, Tim, you're   11   there's not enough staff? My wife has
 12   now exposing the fact that I really wasn't         12   complained about A, B, and C? That's more of
 13   overly concerned. But I knew that Pastor           13   what I'm getting at. Did he ever -- was there a
 14   Bittick's wife worked at the facility, and         14   discussion along those lines?
 15   that's the extent of it. I don't know what         15       A. You know, I can't -- I can't verify
 16   capacity.                                          16   that he did or he didn't. Again, I didn't pay
 17      Q. Okay. And --                                 17   it that much attention. And he may have said
 18      A. I'm kind of ashamed of that                  18   something to that effect, but I can't make a
 19   personally, but that's frankly where I'm at.       19   statement about that.
 20      Q. All right. And then I didn't take            20       Q. Do you recall talking to Jerry
 21   good notes, but what -- do you remember, as best   21   Williams at all about anything the pastor may
 22   you can, what was the concern or what was the      22   have said to you?
 23   issue that the pastor mentioned to you?            23       A. No, not that pastor. The only time I
 24       A. I mean, he called me. He asked me           24   really talked to Jerry was -- over this
 25   several things about the facility. One is that     25   situation was the fact that this medical
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REPRESENTATIVE BILL KINKADE                                                                   10/07/2020
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                                            Page 33                                                 Page 35
  1   professional, whoever it was, had indicated that    1   BY MR. PEEPLES:
  2   he had a genuine concern, and that this was the     2       Q. Well, you're the chairman of the
  3   second time he had called to let me know that.      3   corrections committee for the Mississippi
  4   And I just thought it was incumbent for me to       4   legislature, and you're familiar with the fact
  5   report that to the facility manager, Jerry          5   that there is -- there have been staff shortages
  6   Williams.                                           6   in, frankly, all the jails in Mississippi?
  7       Q. And to be clear, that's the only --          7       A. There's a lot of improvement that
  8   the dentist is the only person, whatever he is,     8   could be made in the Department of Corrections,
  9   doctor, whatever, that stands out in your mind      9   as well as a lot of other agencies we've had
 10   that called you --                                 10   problems with.
 11       A. That's the only --                          11          Specifically our staffing -- our
 12       Q. -- (inaudible) --                           12   hiring rate has not been equitable for our
 13       A. That's the only thing that stands out       13   neighboring states. Same as teachers, same as
 14   in my mind that I had a concern about.             14   health-care professionals. It's just, you know,
 15          The only other time that it has come        15   in the Department of Corrections, it was a
 16   to my mind, and nobody complained, but that's      16   concern.
 17   when I -- you know, Channel 5 is showing a fire    17       Q. Sure.
 18   in my prison and a guard getting beat, and we've   18       A. And my job was to go get
 19   all seen that. And that was in the Marshall        19   appropriation. That was my job.
 20   County facility, and that was subsequently         20       Q. Right. And you had mentioned -- I
 21   probably three months after this happened.         21   mean, there is a requirement of -- a staffing
 22          So, you know, that -- that kind of          22   level requirement in the MTC-run facilities,
 23   validated the point to me. I didn't have that      23   right?
 24   discussion with anybody, but certainly that --     24       A. There is a contractual staffing
 25   you know, that was pretty relevant, don't you      25   minimum, yes.

                                            Page 34                                                 Page 36
  1   think?                                              1       Q. Yeah. And MTC -- MTC still has a
  2       Q. Would you --                                 2   contract to run the Marshall County facility,
  3       A. I'm not -- I tell you, I just -- as          3   correct?
  4   chairman of corrections, I thought it was very      4       A. I'm no longer chairman, Tim. You'll
  5   relevant.                                           5   have to direct that --
  6       Q. Sure. I'm sure. When you said it's           6       Q. Okay.
  7   not uncommon, I mean, all -- there's an issue       7       A. -- to Counselor Kevin Horan and ask
  8   throughout this state, frankly across the           8   him that.
  9   country, with getting qualified individuals who     9       Q. All right. As of -- as of the time
 10   are willing to work for the wages that are paid    10   you left that committee, you understood MTC was
 11   in these jails, right? Would you agree with        11   still running the Holly Springs facility, right,
 12   that?                                              12   Marshall County --
 13       A. I would.                                    13       A. I did.
 14          MR. WAIDE: Excuse me. Excuse me.            14       Q. -- facility?
 15       Object. I don't think that's an                15       A. I did.
 16       appropriate question.                          16       Q. All right. I don't have anything
 17          MR. PEEPLES: Okay.                          17   else. Thank you. Thank you, Mr. Kinkade.
 18          MR. WAIDE: It has nothing to do with        18       A. Thank you, Tim.
 19       this case.                                     19           MR. LONG-DANIELS: And I'll follow up
 20           MR. PEEPLES: All right. Well, you          20       just a little bit.
 21       keep talking about staff shortages, so I'm     21           THE WITNESS: (Inaudible) I'd be glad
 22       going to ask him about it.                     22       to.
 23       A. Well, I'm not a DOJ professional, so        23
 24   maybe that's where you need to go with that        24
 25   conversation.                                      25
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REPRESENTATIVE BILL KINKADE                                                                  10/07/2020
                                                                           10 (Pages 37 to 40)
                                           Page 37                                                 Page 39
  1                EXAMINATION                           1   commissioner.
  2   BY MR. LONG-DANIELS:                               2       Q. Okay. You don't think it's
  3      Q. Well, first, let me introduce myself.        3   appropriate for you to interfere or be involved
  4   I'm David Long-Daniels, and I represent            4   in employee issues at a local prison, correct?
  5   Centurion.                                         5       A. That's right.
  6          And I looked at your resume. Did you        6       Q. That's outside of your purview?
  7   go -- did you grow up in Orange County --          7       A. That's -- that's something I just
  8      A. I did.                                       8   won't do.
  9      Q. -- California?                               9       Q. Okay. And you won't do it for a
 10      A. I did.                                      10   reason, right?
 11      Q. Wow.                                        11       A. Right.
 12      A. I graduated from Orange High School in      12       Q. It's good for the order and discipline
 13   1975.                                             13   of the prison that everybody follow the chain of
 14      Q. Fantastic. You have been on the             14   command, right?
 15   committee -- chair of committee for the           15       A. Well, I've never spent a lot of time
 16   Department of Corrections for the state           16   in prison, David.
 17   legislature, right?                               17       Q. And I don't mean to imply that you
 18      A. Yes, sir, in the House.                     18   have.
 19      Q. In the House. And thank you for that.       19       A. I can tell you, from a legislative
 20   During the deposition, we mentioned two names.    20   standpoint, that it's necessary to keep clean
 21   You mentioned Jerry. Jerry refers to whom?        21   lines of communication between the leadership
 22      A. Jerry Williams was the deputy               22   and the legislature.
 23   commissioner, and he was in charge of             23       Q. Yes, sir.
 24   facilities.                                       24       A. And any violation of that clouds the
 25      Q. Okay.                                       25   water.

                                           Page 38                                                 Page 40
  1       A. There's two people I worked with at         1      Q. It clouds the water and can interfere
  2   DOC, Jerry Williams and Kevin -- Lord, have        2   with the chain of command, right?
  3   mercy, I drew a blank. Facilitation services.      3      A. Those are your words.
  4       Q. Okay. Now --                                4      Q. Okay. You do agree that prisons are
  5       A. Kevin -- excuse me, Kevin Jackson.          5   dangerous places?
  6   Those are the two people I spoke to.               6      A. Can be.
  7       Q. Okay. Now, there's a warden named           7      Q. If you had an inmate that's murdered
  8   Jesse Williams. You never spoke with Jesse         8   somebody, you want to make sure he stays in
  9   Williams, did you?                                 9   prison and not out of prison, right?
 10       A. No, sir.                                   10      A. That's right.
 11       Q. Okay. You mentioned during the course      11      Q. And you want to make sure that the
 12   of our discussion that there's important          12   safety of the people who work there, as well as
 13   protocols that have to be followed.               13   the other prisoners, are paramount, right?
 14       A. Well, they're self-imposed. They're        14      A. Right.
 15   just things that I find that are necessary to     15      Q. That's important from a public concern
 16   run a smooth operation, and that's follow a       16   standpoint, right?
 17   certain specific chain.                           17      A. That's a point for a public safety
 18       Q. Right. And you think it's important,       18   concern. Primarily public safety.
 19   at least with respect to your duties, to follow   19      Q. You don't want a prisoner going out to
 20   that chain, right?                                20   a hospital late at night without a sufficient
 21       A. Uh-huh.                                    21   number of guards to ensure the public safety,
 22       Q. If you've got a problem, you're going      22   right?
 23   to go to deputy commissioner, not down to the     23      A. David, are we on a different -- are we
 24   warden level, are you?                            24   on a different subject?
 25       A. Absolutely. I went to the deputy           25      Q. No, we're just on a good subject. I
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REPRESENTATIVE BILL KINKADE                                                                   10/07/2020
                                                                            11 (Pages 41 to 44)
                                            Page 41                                                 Page 43
  1   just --                                             1   of command, things get a little gray, a little
  2      A. Now we're getting inmates visiting --         2   fuzzy, don't they?
  3   visiting doctors in the middle of the night.        3       A. Again --
  4      Q. Not doctors.                                  4          MR. WAIDE: Object to the form of the
  5      A. To your point, if they're -- you know,        5       question.
  6   regardless day or night, if an inmate needs         6       A. -- you're going down a rabbit hole
  7   medical attention, MDOC's job is to provide         7   here. I don't know where you're going with it.
  8   that.                                               8   BY MR. LONG-DANIELS:
  9      Q. Yes, sir.                                     9       Q. Well, just -- just follow me a little
 10      A. And whatever and however that needs to       10   bit. I'm not going to go very long.
 11   happen, we make sure it's secure where we do it.   11       A. I know we're not.
 12      Q. And that's my point. It has to be            12       Q. But I want to make sure that you and I
 13   done in a secure way, right?                       13   agree that the chain of command is important.
 14      A. That's right.                                14       A. Absolutely.
 15      Q. You don't -- whether it's day or             15       Q. All right. Now --
 16   night, you don't want to have an inmate that may   16       A. E-4, by the way. I don't know if you
 17   have raped or killed somebody going to visit a     17   were a lieutenant or not, but I'm E-4.
 18   hospital without enough guards to ensure the       18       Q. I was a lowly captain and got out
 19   public safety, right?                              19   before I got too badly hurt.
 20      A. David, I'm not going to comment on           20       A. We probably made jokes some about
 21   your direction. I mean, let's -- I mean, again,    21   that. Not in the chain -- not outside the chain
 22   you're talking about the what-if scenarios of      22   of command, that is.
 23   the world, and I don't want to get into            23       Q. That's right. That's right. You
 24   what-ifs. Let's talk about specifics.              24   mentioned earlier that Ms. Waide -- Ms. Woods
 25      Q. All right. Well, my specific is that         25   had been terminated, right?

                                            Page 42                                                 Page 44
  1   the warden is in charge of the prison and to --     1      A. I was report -- it was reported to me
  2   and his job is to ensure the safety of the          2   after the fact that she had been terminated.
  3   prison, inmates, and the people working there,      3      Q. All right. And did they tell you who
  4   right?                                              4   -- whether it was related to her -- her security
  5      A. Chief administrator, yes, sir.                5   clearance at the prison?
  6      Q. And the warden is cloaked with                6      A. No, sir.
  7   authority to do that, isn't he?                     7      Q. You agree that in order to work at a
  8      A. That's in his -- that's in his                8   prison, you have to have proper security
  9   purview, I would imagine, yes.                      9   clearance, right?
 10      Q. All right. Have you ever served in           10      A. Yes, I would -- yes, I would agree
 11   the military?                                      11   with that.
 12      A. I have.                                      12      Q. And if a person doesn't have a
 13      Q. What branch did you serve?                   13   security clearance, it's not a whole lot they
 14      A. Air Force.                                   14   can do working there at the prison, is it?
 15      Q. So did I.                                    15      A. Again, I don't want to speculate on
 16      A. Absolutely.                                  16   what it takes to cut grass in prison, but, you
 17      Q. You understand the chain of command,         17   know.
 18   don't you?                                         18      Q. But you want everybody there to be --
 19      A. Which is why I'm probably as rigid           19   properly pass security, right?
 20   about that as I am.                                20      A. Right.
 21      Q. That's probably me too. But you              21      Q. That's important for the good order of
 22   understand the chain of command and how            22   the prison and the good order of the community,
 23   important it is, right?                            23   right?
 24      A. Yes, I do.                                   24      A. Right.
 25      Q. And if people don't follow the chain         25      Q. And you don't know -- I think by your
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REPRESENTATIVE BILL KINKADE                                                                 10/07/2020
                                                                          12 (Pages 45 to 48)
                                          Page 45                                                 Page 47
  1   testimony, you don't know whether Ms. Woods'      1         As you sit here today --
  2   security clearance had been revoked?              2      A. (Inaudible.)
  3       A. That never was reported to me in any       3         THE REPORTER: -- without that
  4   -- in any regard.                                 4      knowledge, you can't really criticize her
  5       Q. Okay.                                      5      termination, can you?
  6       A. It was reported to me that she was         6      A. I don't have an opinion one way or the
  7   terminated because she knew -- supposedly         7   other. I mean --
  8   somebody said she knew me, and that's what was    8   BY MR. LONG-DANIELS:
  9   shocking to me.                                   9      Q. All right.
 10       Q. Nobody ever reported to you that her      10      A. -- you know, again, my report -- my
 11   security clearance had been revoked --           11   reporting has to do with Central Office. And
 12       A. No.                                       12   what a contractor chooses to do, they choose to
 13       Q. -- by the prison?                         13   do.
 14       A. No.                                       14         Now, on the grounds they did it, I --
 15       Q. You wouldn't have got yourself            15   I don't have an opinion about it. I just know
 16   involved in a security clearance matter for a    16   what's real and what's not real.
 17   warden of a private prison, would you?           17      Q. That's all I've got.
 18          MR. WAIDE: Object to the form of the      18         MR. WAIDE: All right. I've got a few
 19       question.                                    19      follow-up questions.
 20       A. I don't get myself involved with          20
 21   specifics in prison at all.                      21             FURTHER EXAMINATION
 22   BY MR. LONG-DANIELS:                             22   BY MR. WAIDE:
 23       Q. Okay. And as you sit here today,          23      Q. You were asked a whole bunch of
 24   without that knowledge, you really can't         24   questions, hypothetical questions, about the
 25   criticize her termination, can you?              25   chain of command by both attorneys, basically,

                                          Page 46                                                 Page 48
  1     A. I don't have any --                          1   correct?
  2        MR. WAIDE: Object to the form of the         2      A. Yes, sir.
  3     question.                                       3      Q. All right. When this either doctor or
  4     A. -- (inaudible).                              4   dentist talked to you, did you ever tell him you
  5        MR. LONG-DANIELS: You've got to let          5   thought he was violating the chain of command by
  6     him answer, Mr. Waide.                          6   bringing to your attention alleged staff
  7   BY MR. LONG-DANIELS:                              7   shortages? Did you tell him that?
  8     Q. What were you about to say?                  8      A. No, sir, I did not.
  9        MR. WAIDE: I'm not -- I'm just               9      Q. Did you think he was violating the
 10     objecting to the form here. You have to go     10   chain of command by telling you about those --
 11     ahead and answer the question. I don't         11      A. At that point, I sensed a genuine need
 12     think any of these questions have anything     12   of urgency in his voice and a genuine concern,
 13     to do with this case, but you can --           13   and I responded to that. So, no, I didn't
 14     A. What is your question?                      14   second guess what anybody else would think. I
 15        MR. WAIDE: But, regardless --               15   simply took that information and reported it
 16     regardless, if he asks, you've got to          16   where I felt like it should be reported.
 17     answer under the rules. I'm sorry, but I       17      Q. Do you agree or disagree that it's a
 18     didn't make the rules.                         18   matter of genuine public concern, if there is a
 19     A. Counselor, ask your question.               19   staff shortage of guards to make prisons safe
 20   BY MR. LONG-DANIELS:                             20   for both -- both for the people that work there
 21     Q. He's got me confused now.                   21   and for the inmates, do you agree that's a
 22        MR. LONG-DANIELS: Can you read my           22   matter of genuine public concern?
 23     question back? Mr. Waide has a tendency to     23      A. It's paramount. It's the most
 24     do that.                                       24   important thing.
 25        THE REPORTER: Hold on one second.           25      Q. Was that of concern to you as a
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REPRESENTATIVE BILL KINKADE                                                                   10/07/2020
                                                                             13 (Pages 49 to 52)
                                            Page 49                                                 Page 51
  1   legislator? Was that of concern to you as a         1          MR. LONG-DANIELS: Thank you so much,
  2   legislator?                                         2      Representative Kinkade. Good to meet a
  3       A. That concerned me as a legislator and        3      fellow soldier.
  4   it also concerned me as a citizen with this --      4          (Deposition concluded at 3:33 p.m.)
  5   with a prison in my -- in my county.                5
  6       Q. Is that -- is that the reason why you        6
  7   called the Deputy Commissioner Williams to tell     7
  8   him about it or express that concern?               8
  9       A. I heard -- I heard a genuine sense of        9
 10   urgency and concern from this individual. And,     10
 11   again, he had left a message prior to that and I   11
 12   didn't respond to it. But I heard -- when I        12
 13   spoke to him, I heard a genuine sense that he      13
 14   was concerned about the overall safety of the      14
 15   prison, the guards, the staff, the inmates, and    15
 16   that I needed to look into it. And so I simply     16
 17   reported that to the appropriate source.           17
 18       Q. Okay. Did you -- you mentioned in           18
 19   your direct, and I'm not sure that I followed      19
 20   exactly how this came about. Did he make a         20
 21   comment to you about having driven through the     21
 22   facility and seeing the number of cars that --     22
 23   indicating the number of people working there at   23
 24   night, or --                                       24
 25       A. Yeah, there was a comment from him          25

                                            Page 50                                                 Page 52
  1   that I expressed to Jerry that -- that normally     1             CERTIFICATE
  2   he saw a certain number of staff cars in the lot    2   STATE OF MISSISSIPPI )
  3   and that it was noticeably different on that day    3   COUNTY OF MONROE )
  4   he reported it.                                     4   RE: DEPOSITION OF REPRESENTATIVE BILL KINKADE
  5          And so when he said that he expressed        5         I, Gena Mattison Glenn, CSR 1568, a
  6   concern for the staff shortage, he said he could    6   Notary Public within and for the aforesaid
                                                          7   county and state, duly commissioned and acting,
  7   validate it for the lack of cars that were in
                                                          8   hereby certify that the foregoing proceedings
  8   the parking lot.
                                                          9   were taken before me at the time and place set
  9      Q. And so when you -- when you went to
                                                         10   forth above; that the statements were written by
 10   the deputy commissioner to make -- to pass along
                                                         11   me in machine shorthand; that the statements
 11   to him what -- the information you had received,
                                                         12   were thereafter transcribed by me, or under my
 12   why did you do that? Why did you go to the         13   direct supervision, by means of computer-aided
 13   deputy commissioner to tell him that?              14   transcription, constituting a true and correct
 14      A. Because that's where -- he's in charge       15   transcription of the proceedings; and that the
 15   of facilities. That's his bottom line              16   witness was by me duly sworn to testify to the
 16   responsibility. He's the one that manages the      17   truth and nothing but the truth in this cause.
 17   contractors. He's the one that manages the         18        I further certify that I am not a
 18   facilities. He's the one that assigns MDOC         19   relative or employee of any of the parties, or
 19   inmates. So he is the bottom line decision         20   of counsel, nor am I financially or otherwise
 20   maker, so I thought he was the appropriate         21   interested in the outcome of this action.
 21   source.                                            22        Witness my hand and seal on this 19th day
 22      Q. All right. That's all I have.                23   of October, 2020.
 23          MR. WAIDE: Does anybody else have           24                       ____________________
 24       follow-up after that?                               My Commission Expires: CSR 1568
 25          MR. PEEPLES: No.                            25   July 19, 2023             Notary Public
